§§735§§§) Case A,:OQ-cr-OO?>S€§mm Document 2-1 Filed on 06/17/09 in..,TXSD Page 1 of 1
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Magistraf€ "'ji"‘]m` er WN 1 7 2009
Filed Judge: ;1\`\ <mr\
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uNrrED STATES of AMERICA ATFORNEYS'
VS TlM JOHNSON, USA (713) 567-9000
Ryan Mcconneu, AUSA (713) 567-9000
Appt'd Private
Brent A. Carter m g

 

Michael N. Swetnam, Jr.

 

 

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Ct. 1: Conspiracy [18 USC § 371]

 

CHARGE; Crs.z-S: MailFraud[lsUsC § 1341 and(z)]

 

(TOTAL)

(COUNTS:) Cts. 9-10: Wu'e Fraud [18 USC § 1343 and (2)]

 

(10)

 

 

 

 

PENALTY: Ct. l: Up to 5 years imprisonment; 3 years supervised release; Fine not to exceed $250,000, $100 S/A
Cts.Z-IO: Up to 20 years imprisonment; 3 years supervised release; Fine not to exceed $250,000, $lOO S/A

[} In Jan NAME & ADDRESS
|:] 0 B d of Surety:

n On
lzl No Arrest

PROCEEDINGS:

 

 

 

 

 

 

 

